     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 1 of 14



 1   ASIM M. BHANSALI (SBN 194925)
     abhansali@kblfirm.com
 2   KWUN BHANSALI LAZARUS LLP
 3   555 Montgomery St., Suite 750
     San Francisco, CA 94111
 4   Telephone: (415) 630-2350

 5   Attorneys for Non-Party
     Google, LLC
 6

 7

 8
                                 UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10                                       OAKLAND DIVISION
11

12    EPIC GAMES, INC.,                             Case No. 4:20-CV-05640-YGR-TSH

13                                                  DECLARATION OF ANDREW ROPE
                    Plaintiff, Counter-defendant,   IN SUPPORT OF SEALING PORTIONS
14                                                  PROPOSED TRIAL EXHIBITS
      vs.
15                                                  The Honorable Yvonne Gonzalez Rogers

16    APPLE INC.,                                   Trial: May 3, 2021

17                  Defendant, Counterclaimant.
18

19

20

21

22

23

24

25

26

27

28
                                                                   Case No. 4:20-cv-05640-YGR-TSH
                                                                         Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 2 of 14



 1             I, Andrew Rope, declare as follows:

 2             1.     I am currently a Senior Legal Project Manager for non-party Google, LLC. I have

 3   been employed by Google since February 2018 and have held my current position since July

 4   2019. Over the course of my employment at Google, I have acquired personal knowledge of

 5   Google’s practices and procedures concerning the maintenance of the confidentiality of its

 6   strategic, business, and marketing information.

 7             2.     I submit this declaration in support of sealing portions of certain documents

 8   produced by Google pursuant to a third-party subpoena that Apple Inc. has indicated it intends to

 9   introduce at the trial of this matter, and one document produced by Apple that contains

10   confidential Google information which Apple has indicated Epic Games intends to introduce at

11   the trial.

12             3.     The contents of this declaration are true and correct to the best of my knowledge,

13   information and belief, and are based on my personal knowledge of Google’s policies and

14   practices as they relate to the treatment of confidential information, the materials that were

15   provided to me and reviewed by me, or conversations with other knowledgeable employees of

16   Google. If called upon as a witness in this action, I could and would testify competently thereto.

17             4.     Google follows a strict practice that requires confidential treatment of all internal

18   business analyses of consumer spending and revenue, market conditions and opportunities, future

19   strategic business plans, security risks, and potential growth opportunities. In my experience and

20   to the best of my knowledge, Google does not disclose internal documents of this nature outside

21   of the company.

22             5.     The disclosure of Google’s confidential internal business analyses, pricing and

23   valuation analyses, strategies and decision-making plans could significantly harm Google’s

24   relationships and ability to conduct business with counterparties and prospective counterparties,

25   and could place it at a disadvantage with competitors who could use Google’s confidential

26   analyses to their advantage in competition with Google. These materials therefore have economic

27   value from not being generally known to Google’s competitors, counterparties, or the general

28   public.
                                                                            Case No. 4:20-cv-05640-YGR-TSH
                                                         1
                                                                                  Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 3 of 14



 1
            6.      To the best of my knowledge, the following information in the trial exhibits
 2
     proposed by Apple and Epic, which are confidential materials Google produced in response to a
 3
     third-party subpoena and one document produced by Apple that contains confidential Google
 4
     information, contain sensitive and confidential Google information that Google has both good
 5
     cause and compelling reasons to seal.
 6
                                  SPECIFIC PROPOSED TRIAL EXHIBITS
 7
             DX-4172, DX-4910 (duplicate of DX-4172), DX-5325 (duplicate of DX-4172)
 8                                        (EXHIBIT A)
 9          7.      These documents contain information regarding Google’s internal analyses of
10   consumer spending and revenue, future strategic business plans, and potential growth
11   opportunities. If revealed to competitors and potential business counter-parties, they could use
12   this non-public and confidential information to disadvantage Google in marketing, in
13   negotiations, and competing strategic decision-making. I have identified and proposed the
14   following specific limited redactions only as to those portions of the documents that contain such
15   sensitive and confidential information leaving the remainder unredacted:
16          ●       GOOG-APPL-00125069: highlighted portions
17          ●       GOOG-APPL-00125071: highlighted portions
18          ●       GOOG-APPL-00125075: highlighted portions
19          ●       GOOG-APPL-00125084-088: highlighted portions
20          ●       GOOG-APPL-00125090: highlighted portions
21          ●       GOOG-APPL-00125092-093: highlighted portions
22          ●       GOOG-APPL-00125095: highlighted portions
23
                                                 DX-3558
24
                                               (EXHIBIT B)
25          8.      This document contains information regarding Google’s internal analyses of future
26   strategic business and product development plans, strategic partnerships with third parties in
27   implementing future business plans, actual or projected revenue from business plans, internal
28   competitive assessments, and internal assessment of team management issues. If revealed to
                                                                     Case No. 4:20-cv-05640-YGR-TSH
                                                    2
                                                                                Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 4 of 14



 1
     competitors and potential business counter-parties, they could use this non-public and
 2
     confidential information to disadvantage Google in marketing, in negotiations, and competing
 3
     strategic decision-making. I have identified and proposed the following specific limited
 4
     redactions only as to those portions of the document that contains such sensitive and confidential
 5
     information leaving the remainder unredacted:
 6
            ●       GOOG-APPL-00044923: highlighted portions
 7
            ●       GOOG-APPL-00044925 - 00044926: highlighted portions
 8
            ●       GOOG-APPL-00044929 - 00044934: highlighted portions
 9
            ●       GOOG-APPL-00044936 - 00044952: highlighted portions
10
            ●       GOOG-APPL-00044954: highlighted portions
11
            ●       GOOG-APPL-00044956 - 00044958: highlighted portions
12
            ●       GOOG-APPL-00044962: highlighted portions
13
            ●       GOOG-APPL-00044964 - 00044970: highlighted portions
14
            ●       GOOG-APPL-00044973 - 00044975: highlighted portions
15
            ●       GOOG-APPL-00044977: highlighted portions
16
            ●       GOOG-APPL-00044979: highlighted portions
17

18                                               DX-4303
                                               (EXHIBIT C)
19
            9.      This document contains information regarding Google’s revenue figures, future
20
     business plans and products with developers, strategic partnerships with third parties in
21
     implementing future business plans, actual and/or projected revenue from business plans, internal
22
     competitive assessments, and internal assessment of team management issues. If revealed to
23
     competitors and potential business counter-parties, they could use this non-public and
24
     confidential information to disadvantage Google in marketing, in negotiations, and competing
25
     strategic decision-making. I have identified and proposed the following specific limited
26
     redactions only as to those portions of the document that contains such sensitive and confidential
27
     information leaving the remainder unredacted:
28
                                                                         Case No. 4:20-cv-05640-YGR-TSH
                                                      3
                                                                               Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 5 of 14



 1
            ●       GOOG-APPL-00005399: highlighted portions
 2
            ●       GOOG-APPL-00005411 - 00005419: highlighted portions
 3
            ●       GOOG-APPL-00005422: highlighted portions
 4
            ●       GOOG-APPL-00005425 - GOOG-APPL-00005440: highlighted portions
 5
            ●       GOOG-APPL-00005444 - 00005445: highlighted portions
 6
            ●       GOOG-APPL-00005447 - 00005448: highlighted portions
 7
            ●       GOOG-APPL-00005456: highlighted portions
 8
            ●       GOOG-APPL-00005458 - 00005459: highlighted portions
 9

10                                                DX-4522
                                                (EXHIBIT D)
11
            10.     This document contains information regarding Google’s internal assessment of
12
     strategic value for business counterparties and future strategic business plans. If revealed to
13
     competitors and potential business counter-parties, they could use this non-public and
14
     confidential information to disadvantage Google in negotiations. I have identified and proposed
15
     the following specific limited redactions only as to those portions of the document that contains
16
     such sensitive and confidential information leaving the remainder unredacted:
17
            ●       GOOG-APPL-00042477: highlighted portions
18
            ●       GOOG-APPL-00042482: highlighted portions
19

20                                                DX-3913
21                                              (EXHIBIT E)
            11.     This document contains information regarding Google’s financials and sensitive
22
     information, strategic considerations related to certain projects, including financials and metrics,
23
     monetization information, future strategy and pilot partners, and descriptions of Google’s internal
24
     processes and policies. If revealed to competitors and potential business counter-parties, they
25
     could use this non-public and confidential information to disadvantage Google in marketing, in
26
     negotiations, and competing strategic decision-making. I have identified and proposed the
27
     following specific limited redactions only as to those portions of the document that contains such
28
                                                                          Case No. 4:20-cv-05640-YGR-TSH
                                                       4
                                                                                Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 6 of 14



 1
     sensitive and confidential information leaving the remainder unredacted:
 2
            ●       GOOG-APPL-00114741 - 00114746: highlighted portions
 3
            ●       GOOG-APPL-00114749: highlighted portions
 4
            ●       GOOG-APPL-00114751 - 00114752: highlighted portions
 5
            ●       GOOG-APPL-00114759: highlighted portions
 6
            ●       GOOG-APPL-00114761 - 00114762: highlighted portions
 7
            ●       GOOG-APPL-00114764: highlighted portions
 8
            ●       GOOG-APPL-00114768: highlighted portions
 9
            ●       GOOG-APPL-00114771 - 00114776: highlighted portions
10
            ●       GOOG-APPL-00114778: highlighted portions
11

12                                               DX-4046
                                               (EXHIBIT F)
13
            12.     This document contains information regarding Google’s internal competitive
14
     assessments of future business strategies. If revealed to competitors and potential business
15
     counter-parties, they could use this non-public and confidential information to disadvantage
16
     Google in marketing, in negotiations, and competing strategic decision-making. I have identified
17
     and proposed the following specific limited redactions only as to those portions of the document
18
     that contains such sensitive and confidential information leaving the remainder unredacted:
19
            ●       GOOG-APPL-00003389: highlighted portions
20
            ●       GOOG-APPL-00003391 - 00003394: highlighted portions
21
            ●       GOOG-APPL-00003398: highlighted portions
22
            ●       GOOG-APPL-00003400: highlighted portions
23
            ●       GOOG-APPL-00003406 - 00003407: highlighted portions
24
            ●       GOOG-APPL-00003409: highlighted portions
25
            ●       GOOG-APPL-00003411: highlighted portions
26

27

28
                                                                         Case No. 4:20-cv-05640-YGR-TSH
                                                      5
                                                                               Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 7 of 14



 1                              DX-3452, DX-5326 (duplicate of DX-3452)
                                            (EXHIBIT G)
 2
            13.     These documents contain information regarding Google’s internal financial
 3
     projections and internal strategic projects for advancing business objectives. If revealed to
 4
     competitors and potential business counter-parties, they could use this non-public and
 5
     confidential information to disadvantage Google in marketing, in negotiations, and competing
 6
     strategic decision-making. I have identified and proposed the following specific limited
 7
     redactions only as to those portions of the documents that contain such sensitive and confidential
 8
     information leaving the remainder unredacted:
 9
            ●       GOOG-APPL-00111792 - GOOG-APPL-00111793: highlighted portions
10
            ●       GOOG-APPL-00111797 - GOOG-APPL-00111798: highlighted portions
11
            ●       GOOG-APPL-00111811
12

13                                               DX-3779
14                                             (EXHIBIT H)
            14.     This document contains information regarding Google’s internal risk analyses,
15
     internal analyses of security and threat detection processes, current and future review processes,
16
     and internal funding decisions. If revealed to competitors and potential business counter-parties,
17
     they could use this non-public and confidential information to disadvantage Google in marketing,
18
     in negotiations, and competing strategic decision-making. Public disclosure could further enable
19
     malefactors to create or exploit security risks on consumer devices. I have identified and
20
     proposed the following specific limited redactions only as to those portions of the document that
21
     contains such sensitive and confidential information leaving the remainder unredacted:
22
            ●       GOOG-APPL-00106362: highlighted portions
23
            ●       GOOG-APPL-00106365 - 00106367: highlighted portions
24
            ●       GOOG-APPL-00106369 - 00106374: highlighted portions
25
            ●       GOOG-APPL-00106377: highlighted portions
26
            ●       GOOG-APPL-00106380 - 00106388: highlighted portions
27
            ●       GOOG-APPL-00106391: highlighted portions
28
                                                                          Case No. 4:20-cv-05640-YGR-TSH
                                                      6
                                                                                Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 8 of 14



 1
            ●       GOOG-APPL-00106393 - 00106394: highlighted portions
 2
            ●       GOOG-APPL-00106396 - 00106397: highlighted portions
 3
            ●       GOOG-APPL-00106399: highlighted portions
 4
            ●       GOOG-APPL-00106402: highlighted portions
 5
            ●       GOOG-APPL-00106405: highlighted portions
 6
            ●       GOOG-APPL-00106407: highlighted portions
 7
            ●       GOOG-APPL-00106409: highlighted portions
 8
            ●       GOOG-APPL-00106414 - 00106415: highlighted portions
 9
            ●       GOOG-APPL-00106422: highlighted portions
10
            ●       GOOG-APPL-00106424 - 00106427: highlighted portions
11
            ●       GOOG-APPL-00106429: highlighted portions
12
            ●       GOOG-APPL-00106431: highlighted portions
13
            ●       GOOG-APPL-00106433 - 00106434: highlighted portions
14
            ●       GOOG-APPL-00106436 - 00106437: highlighted portions
15
            ●       GOOG-APPL-00106439 - 00106440: highlighted portions
16
            ●       GOOG-APPL-00106442 - 00106443: highlighted portions
17
            ●       GOOG-APPL-00106445 - 00106450: highlighted portions
18

19                            DX-3798 and DX-4909 (duplicate of DX-3798)
                                            (EXHIBIT I)
20
            15.     These documents contain internal Google Board presentations and information
21
     regarding Google’s internal risk analyses, internal analyses of security and threat detection
22
     processes, and internal analyses of revenue and business opportunities. If revealed to competitors
23
     and potential business counter-parties, they could use this non-public and confidential
24
     information to disadvantage Google in marketing, in negotiations, and competing strategic
25
     decision-making. Public disclosure could further enable malefactors to create or exploit security
26
     risks on consumer devices. I have identified and proposed the following specific limited
27

28
                                                                          Case No. 4:20-cv-05640-YGR-TSH
                                                      7
                                                                                Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 9 of 14



 1
     redactions only as to those portions of the documents that contain such sensitive and confidential
 2
     information leaving the remainder unredacted:
 3
            ●       GOOG-APPL-00113903 - 00113905: highlighted portions
 4
            ●       GOOG-APPL-00113907: highlighted portions
 5
            ●       GOOG-APPL-00113910: highlighted portions
 6
            ●       GOOG-APPL-00113912: highlighted portions
 7
            ●       GOOG-APPL-00113914: highlighted portions
 8
            ●       GOOG-APPL-00113916 - 00113918: highlighted portions
 9
            ●       GOOG-APPL-00113920 - 00113921: highlighted portions
10
            ●       GOOG-APPL-00113924 - 00113925: highlighted portions
11
            ●       GOOG-APPL-00113927: highlighted portions
12
            ●       GOOG-APPL-00113929 - 00113930: highlighted portions
13
            ●       GOOG-APPL-00113933 - 00113934: highlighted portions
14
            ●       GOOG-APPL-00113937 - 00113943: highlighted portions
15
            ●       GOOG-APPL-00113945 - 00113949: highlighted portions
16
            ●       GOOG-APPL-00113951: highlighted portions
17
            ●       GOOG-APPL-00113961: highlighted portions
18
            ●       GOOG-APPL-00113964 - 00113965: highlighted portions
19
            ●       GOOG-APPL-00113970 - 00113971: highlighted portions
20
            ●       GOOG-APPL-00113973: highlighted portions
21
            ●       GOOG-APPL-00113975 - 00113976: highlighted portions
22
            ●       GOOG-APPL-00113980 - 00113982: highlighted portions
23
            ●       GOOG-APPL-00113984: highlighted portions
24

25                                               DX-3365
                                               (EXHIBIT J)
26
            16.     This document contains non-public data on business revenues, including detailed
27
     non-public breakdowns of revenue based on internal classifications. If revealed to competitors
28
                                                                         Case No. 4:20-cv-05640-YGR-TSH
                                                      8
                                                                               Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 10 of 14



 1
     and potential business counter-parties, they could use this non-public and confidential
 2
     information to disadvantage Google in marketing and in negotiations. I have identified and
 3
     proposed the following specific redactions only as to those portions of the document that contains
 4
     such sensitive and confidential information leaving the remainder unredacted:
 5
            ●       GOOG-APPL-00099392: redaction in full
 6

 7                                               DX-3584
                                               (EXHIBIT K)
 8
            17.     This document contains non-public data on business revenues, including detailed
 9
     non-public breakdowns of revenue based on internal classifications. If revealed to competitors
10
     and potential business counter-parties, they could use this non-public and confidential
11
     information to disadvantage Google in marketing and in negotiations. I have identified and
12
     proposed the following specific limited redactions only as to those portions of the document that
13
     contains such sensitive and confidential information leaving the remainder unredacted:
14
            ●       GOOG-APPL-00099394: redaction in full
15

16                                               DX-3165
17                                             (EXHIBIT L)
            18.     This document contains and reflects confidential Google surveys and analyses of
18
     consumer information and preferences. If revealed to competitors, they could selectively cite to
19
     the findings to disadvantage Google in marketing, and they could take advantage of the costly and
20
     detailed internal Google analyses to tailor their own product design and marketing in ways that
21
     further disadvantage Google. I have identified and proposed the following specific limited
22
     redactions only as to those portions of the document that contains such sensitive and confidential
23
     information leaving the remainder unredacted:
24
            ●       GOOG-APPL-00003567 - GOOG-APPL-00003608: redaction in full
25

26

27

28
                                                                         Case No. 4:20-cv-05640-YGR-TSH
                                                      9
                                                                               Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 11 of 14



 1                                              DX-3250
                                              (EXHIBIT M)
 2
            19.     This document contains and reflects confidential Google surveys and analyses of
 3
     consumer information and preferences. If revealed to competitors, they could selectively cite to
 4
     the findings to disadvantage Google in marketing, and they could take advantage of the costly and
 5
     detailed internal Google analyses to tailor their own product design and marketing in ways that
 6
     further disadvantage Google. I have identified and proposed the following specific limited
 7
     redactions only as to those portions of the document that contains such sensitive and confidential
 8
     information leaving the remainder unredacted:
 9
            ●       GOOG-APPL-00042404 - GOOG-APPL-00042475: redaction in full
10

11                                               DX-3598
12                                             (EXHIBIT N)
            20.     This document contains and reflects confidential Google surveys and analyses of
13
     consumer information and preferences. If revealed to competitors, they could selectively cite to
14
     the findings to disadvantage Google in marketing, and they could take advantage of the costly and
15
     detailed internal Google analyses to tailor their own product design and marketing in ways that
16
     further disadvantage Google. I have identified and proposed the following specific limited
17
     redactions only as to those portions of the document that contains such sensitive and confidential
18
     information leaving the remainder unredacted:
19
            ●       GOOG-APPL-00003610 - GOOG-APPL-00003656: redaction in full
20

21
                                                 DX-3942
22                                             (EXHIBIT O)

23          21.     This document contains and reflects confidential Google surveys and analyses of

24   consumer information and preferences. If revealed to competitors, they could selectively cite to

25   the findings to disadvantage Google in marketing, and they could take advantage of the costly and

26   detailed internal Google analyses to tailor their own product design and marketing in ways that

27   further disadvantage Google. I have identified and proposed the following specific limited

28   redactions only as to those portions of the document that contains such sensitive and confidential
                                                                         Case No. 4:20-cv-05640-YGR-TSH
                                                     10
                                                                               Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 12 of 14



 1
     information leaving the remainder unredacted:
 2
            ●       GOOG-APPL-00003414 - GOOG-APPL-00003454: redaction in full
 3
                                                 DX-4001
 4                                             (EXHIBIT P)
 5          22.     This document contains and reflects confidential Google surveys and analyses of
 6   consumer information and preferences. If revealed to competitors, they could selectively cite to
 7   the findings to disadvantage Google in marketing, and they could take advantage of the costly and
 8   detailed internal Google analyses to tailor their own product design and marketing in ways that
 9   further disadvantage Google. I have identified and proposed the following specific limited
10   redactions only as to those portions of the document that contains such sensitive and confidential
11   information leaving the remainder unredacted:
12          ●       GOOG-APPL-00003523 - GOOG-APPL-00003565: redaction in full
13
                                                 DX-4310
14
                                               (EXHIBIT Q)
15          23.     This document contains and reflects confidential Google surveys and analyses of
16   consumer information and preferences. If revealed to competitors, they could selectively cite to
17   the findings to disadvantage Google in marketing, and they could take advantage of the costly and
18   detailed internal Google analyses to tailor their own product design and marketing in ways that
19   further disadvantage Google. I have identified and proposed the following specific limited
20   redactions only as to those portions of the document that contains such sensitive and confidential
21   information leaving the remainder unredacted:
22          ●       GOOG-APPL-00003482 - GOOG-APPL-00003521: redaction in full
23

24                                               DX-4478
                                               (EXHIBIT R)
25
            24.     This document contains information regarding Google’s internal business
26
     operations and strategy plans. If revealed to competitors and potential business counter-parties,
27
     they could use this non-public and confidential information to disadvantage Google in marketing
28
                                                                         Case No. 4:20-cv-05640-YGR-TSH
                                                     11
                                                                               Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 13 of 14



 1
     and in negotiations. I have identified and proposed the following specific limited redactions only
 2
     as to those portions of the document that contains such sensitive and confidential information
 3
     leaving the remainder unredacted:
 4
                            ●      GOOG-APPL-00114922: highlighted portions
 5
                            ●      GOOG-APPL-00114934: highlighted portions
 6

 7                                                PX-0506
                                                (EXHIBIT S)
 8
            25.     This document, produced by Apple, contains non-public information regarding the
 9
     revenues, profitability, and subscriber information from Google’s YouTube applications on Apple
10
     devices. If revealed to competitors and potential business counter-parties, they could use this
11
     non-public and confidential information to disadvantage Google in marketing and in negotiations.
12
     I have identified and proposed the following specific limited redactions only as to those portions
13
     of the document that contains such sensitive and confidential information leaving the remainder
14
     unredacted:
15
                            ●      APL-APPSTORE_02027040: highlighted portions
16
                            ●      APL-APPSTORE_02027041: highlighted portions
17
            26.     To my knowledge, the confidential information discussed above is not publicly
18
     known, and Google recognizes and protects the enormous value of this information through its
19
     various policies and procedures designed to protect confidential information from disclosure.
20
            I declare under penalty of perjury that the foregoing is true and correct and that I executed
21
     this declaration on April 27, 2021, in Aptos, California.
22

23

24                                                      /s/ Andrew Rope
                                                        Andrew Rope
25
     ///
26
     ///
27

28
                                                                          Case No. 4:20-cv-05640-YGR-TSH
                                                      12
                                                                                Declaration of Andrew Rope
     Case 4:20-cv-05640-YGR Document 506-1 Filed 04/27/21 Page 14 of 14



 1                               ATTESTATION OF CONCURRENCE

 2          Pursuant to Local Civil Rule 5-1(i)(3), I, Asim Bhansali, attest that I obtained the

 3   concurrence of Andrew Rope in the filing of this document. I hereby attest that I have on file all

 4   holographic signatures corresponding to any signatures indicated by a conformed signature

 5   (/S/)within this e-filed document.

 6
            Dated: April 27, 2021          /s/ Asim Bhansali
 7                                                Asim Bhansali
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                         Case No. 4:20-cv-05640-YGR-TSH
                                                     13
                                                                               Declaration of Andrew Rope
